          Case: 22-1786           Document: 34                  Filed: 07/26/2022          Pages: 59


-------------------------------------------------------------------------------------------------------------------

                                        IN THE
                            UNITED STATES COURT OF APPEALS
                               FOR THE SEVENTH CIRCUIT

                             ______________________________________

                                                 No. 22-1786

        A.C., a minor child by his next friend, mother, and legal guardian M.C.,

                                             Plaintiff/Appellee

                                                        v.

          METROPOLITAN SCHOOL DISTRICT OF MARTINSVILLE, et al.,

                                         Defendants/Appellants

                          _________________________________________

                  On Appeal from the United States District Court for the
                    Southern District of Indiana, Indianapolis Division
                               No. 1:21-cv-2965-TWP-MPB
                     The Honorable Tanya Walton Pratt, Chief Judge


               BRIEF OF APPELLEE AND SUPPLEMENTAL APPENDIX
                          _____________________________

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                                 APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

Appellate Court No: 22-1786
                    _______________

               A.C. v. Metropolitan School District of Martinsville
Short Caption: _________________________________________________________________________________________

   To enable the judges to determine whether recusal is necessary or appropriate, an attorney for a non-governmental party, amicus curiae,
intervenor or a private attorney representing a government party, must furnish a disclosure statement providing the following information
in compliance with Circuit Rule 26.1 and Fed. R. App. P. 26.1.

   The Court prefers that the disclosure statements be filed immediately following docketing; but, the disclosure statement must be filed
within 21 days of docketing or upon the filing of a motion, response, petition, or answer in this court, whichever occurs first. Attorneys are
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included in the front of the table of contents of the party’s main brief. Counsel is required to complete the entire statement and to use
N/A for any information that is not applicable if this form is used.

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          information required by Fed. R. App. P. 26.1 by completing item #3):
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          A.C., a minor child by his next friend, mother, and legal guardian M.C.

          ________________________________________________________________________________________________________

(2)       The names of all law firms whose partners or associates have appeared for the party in the case (including proceedings in the district court or
          before an administrative agency) or are expected to appear for the party in this court:
          ________________________________________________________________________________________________________
          ACLU of Indiana by Kenneth Falk and Stevie Pactor

          ________________________________________________________________________________________________________
          Indiana Legal Services by Megan Stuart and Kathleen Bensberg

(3)       If the party, amicus or intervenor is a corporation:

          i)        Identify all its parent corporations, if any; and

                    N/A
                    ________________________________________________________________________________________________

          ii)       list any publicly held company that owns 10% or more of the party’s, amicus’ or intervenor’s stock:

                    N/A
                    ________________________________________________________________________________________________

(4)       Provide information required by FRAP 26.1(b) – Organizational Victims in Criminal Cases:

          ________________________________________________________________________________________________________
          N/A

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          N/A
          ________________________________________________________________________________________________________



                      s/ Kenneth J. Falk
Attorney’s Signature: ________________________________________       May 5, 2022
                                                               Date: ________________________________________

Attorney’s Printed Name: __________________________________________________________________________________
                         Kenneth J. Falk

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).         ✔ No _____
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                                 APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

Appellate Court No: 22-1786

Short Caption: A.C. v. Principal, John R. Wooden Middle School, et al

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          Indiana Legal Services by Megan Stuart and Kathleen Bensberg

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          i)        Identify all its parent corporations, if any; and

                     n/a

          ii)       list any publicly held company that owns 10% or more of the party’s, amicus’ or intervenor’s stock:

                     n/a

(4)       Provide information required by FRAP 26.1(b) - Organizational Victims in Criminal Cases:

          n/a

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          n/a



Attorney’s Signature: /s/ Megan Stuart                                          Date: 5/5/2022

Attorney’s Printed Name: Megan Stuart

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Appellate Court No: 22-1786
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          ________________________________________________________________________________________________________
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          ________________________________________________________________________________________________________
          Indiana Legal Services, Inc. by Megan Stuart and Kathleen Bensberg

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                    N/A
                    ________________________________________________________________________________________________

          ii)       list any publicly held company that owns 10% or more of the party’s, amicus’ or intervenor’s stock:

                    N/A
                    ________________________________________________________________________________________________

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          ________________________________________________________________________________________________________
          N/A

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          N/A
          ________________________________________________________________________________________________________



                      /s/Kathleen Bensberg
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                                                               Date: ________________________________________

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                         Kathleen Bensberg

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                              Jurisdictional Statement

      The jurisdictional statement of the appellants is not complete and correct.

      The district court had jurisdiction of this action pursuant to 28 U.S.C. § 1331.

The district court’s jurisdiction was based on alleged violations by defendants of Title

IX of the Education Amendments Act of 1972, 20 U.S.C. § 1681(a), and the Equal

Protection Clause of the Fourteenth Amendment.

      The Court of Appeals has jurisdiction of this appeal pursuant to 28 U.S.C.

§ 1292(a)(1) as it is an appeal from the district court’s grant of plaintiff’s motion for a

preliminary injunction. The district court issued its Order on Plaintiff’s Motion for

Preliminary Injunction on April 29, 2022 (Appellants’ Short Appendix [S.A.] at A1)

and issued a stand-alone Preliminary Injunction on May 19, 2022 (S.A. at 17). The

merits of plaintiff’s case remain to be resolved by the district court.

      No motion was filed that tolls the time within which to appeal the preliminary

injunction. The Notice of Appeal was filed on May 3, 2022. (District Court Docket

[“Dkt.”] 52). There are no prior or related appellate proceedings.

      One of the defendants in this case is the Principal of the John R. Wooden

Middle School, who is sued in his official capacity. The current principal is Fred

Kutruff.

                               Statement of the Issues

      A.C. is a thirteen-year-old male middle-school student who has identified as a

boy since he was eight. He is transgender, is diagnosed with gender dysphoria, and

is under medical care to treat this condition. He has a history of depression and


                                            [1]
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anxiety. He consistently presents as male. Although appellants (“Martinsville”) allow

some transgender students in the high school to use the restrooms consistent with

their gender identity, they have denied A.C. the ability to use the male restrooms in

his public middle-school. The evidence is uncontested that this has caused A.C. a

great deal of distress, anxiety, and physical discomfort.

      The issue presented is whether the district court properly entered a

preliminary injunction in this matter, allowing A.C. to use male restrooms, after

concluding, as dictated by Whitaker v. Kenosha Unified School District No. 1 Board

of Education, 858 F.3d 1034 (7th Cir. 2017), abrogation in nonrelevant part recognized

by Illinois Republican Party v. Pritzker, 973 F.3d 760, 763 (7th Cir. 2020), and

consistent with Bostock v. Clayton County, Georgia, –U.S.–, 140 S. Ct. 1731 (2020),

that he is likely to prevail on his claims that banning him from the restrooms violates

both Title IX of the Education Amendments Act of 1972, 20 U.S.C. § 1681, et seq., and

the Equal Protection Clause of the United States Constitution.



                              Statement of the Case

I.    Factual background

      A.     Introduction to A.C.

      A.C. is a 13-year-old boy who lives with his mother, M.C., and family in

Martinsville, Indiana. (Declaration of M.C. [“M.C. Dec.”], Dkt. 29-2 at 1 ¶¶ 1-2). When

the preliminary injunction was entered, he was a seventh grader at John R. Wooden

Middle School in the Metropolitan School District of Martinsville. (Id. at 1 ¶ 3). The


                                          [2]
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school district is a recipient of federal funding. (Answer, Dkt. 28 at 13 ¶ 55).

       A.C. is transgender. (Declaration of Dr. Dennis Fortenberry [Fortenberry

Dec.”)] Dkt. 29-1 at 13 ¶ 421; Declaration of A.C. [“A.C. Dec”] Dkt. 29- 3 at 1 ¶ 4.). He

was designated female at birth but realized he was a boy when he was around 8 years

old. (A.C. Dec. Dkt. 29-3 at 1 ¶ 4.) When he was around 9 years old, he told his mother,

M.C., that he was not a girl and did not want to be referred to with female pronouns

and wanted to be called a boy’s name. (Id. at 1 ¶ 5; M.C. Dec. Dkt. 29-2 at 1-2 ¶¶ 5-

6). From then on, A.C. was called by his male name and has used he/him pronouns.

(M.C. Dec. Dkt. 29-2 at 1 ¶ 5; A.C. Dec. Dkt. 29-3 at 1-2 ¶¶ 5-6). Around this time

A.C. began presenting himself as a boy with typically masculine clothing and




1       Martinsville cites to the objection that it made to Dr. Fortenberry’s opinions based on
hearsay, lack of personal knowledge, and lack of foundation. (Appellants’ Br. at 31). The basis
for this objection is not apparent as Dr. Fortenberry helped to found, and still works at, the
Gender Health Program at Riley Children’s Health, where A.C. receives treatment and which
offers comprehensive medical, psychological, and social services support to children, teens,
and young adults who have been diagnosed with gender dysphoria, and he personally
provides or supervises each month the medical care of 40 or more children, adolescents, and
young persons with gender dysphoria. (Fortenberry Dec. Dkt. 29-1 at 2, 13 ¶¶ 5-7, 41). He
supervises A.C.’s medical care and reviewed A.C.’s medical records. (Id. at 3, 13 ¶¶ 9, 42).
Moreover, Dr. Fortenberry is an expert and “hearsay may be admissible if the evidence relied
on by the expert is the type of evidence that experts in that field normally rely on when
forming their opinions.” United States v. Rollins, 862 F.2d 1282, 1293 (7th Cir. 1988) (further
citation omitted), see also Fed. R. Evid. 703. It is to be expected that a medical expert will
rely on evidence acquired by other medical personnel. See, e.g., Walker v. Soo Line R. Co., 208
F.3d 581, 591 (7th Cir. 2000) (noting that the lack of examination by a medical expert does
not render testimony inadmissible as evaluation of the medical records is a reliable method
of determining that a patient is ill, even without a physical examination) (citing In re Paoli
R.R. Yard PCB Litig., 35 F.3d 717, 762 (3d Cir. 1994)). In any event, hearsay can be
considered in a preliminary injunction proceeding. S.E.C. v. Cherif, 933 F.2d 403, 412 n.8
(7th Cir. 1991). The district court was properly unpersuaded by Martinsville’s arguments
concerning Dr. Fortenberry (S.A. at A13), and its ruling is certainly not an abuse of discretion.
See, e.g., Houlihan v. City of Chicago, 871 F.3d 540, 552 (7th Cir. 2017) (“We review
evidentiary rulings for abuse of discretion.”) (further citation omitted).

                                               [3]
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haircuts. (A.C. Dec. Dkt. 29-3 at 2 ¶ 7). A.C.’s appearance has remained masculine,

and he has continued to use his boy’s name and masculine pronouns in daily life. (Id.

at 1-2 ¶¶ 6-8; M.C. Dec. Dkt. 29-3 at 1-2 ¶¶ 6-8). Also, around this time M.C. contacted

A.C.’s grade school and asked that teachers refer to him by his male name and with

male pronouns. (M.C. Dec. Dkt. 29-2 at 2 ¶ 7). He is known and accepted by many of

his peers as a boy. (Id. at 7 ¶ 34).

          A.C. has been diagnosed with gender dysphoria and suffers from significant

distress, depression, and anxiety related to the condition. (A.C. Dec. Dkt. 29-3 at 2 ¶

9). Gender dysphoria is a recognized condition, codified in the American Psychiatric

Association’s Diagnostic and Statistical Manual, 5th edition (“DSM-V”), which is a

standard classification of mental and physical disorders. (Fortenberry Dec. Dkt. 29-1

at 6 ¶ 21).2 A.C. describes it as “distress and pain that comes from my body not



2         The DSM-V sets out the following criteria for gender dysphoria in adolescents and
adults:

          A.     A marked incongruence between one’s experienced/expressed gender and
          assigned gender, of at least 6 months duration, as manifested by at least two of the
          following:

                 1.     A marked incongruence between one’s experienced/expressed gender
                 and primary and/or secondary sex characteristics (or in young adolescents, the
                 anticipated sex characteristics).

                 2.      A strong desire to be rid of one’s primary/and or secondary sex
                 characteristics because of a marked incongruence with one’s experienced/
                 expressed gender (or in young adolescents, a desire to prevent the development
                 of the anticipated secondary sex characteristics).

                 3.     A strong desire for the primary and /or secondary sex characteristics of
                 the other gender.

                 4.     A strong desire to be of the other gender (or some alternative gender
                 different from one’s assigned gender).
                                                [4]
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matching my gender.” (A.C. Dec. Dkt 29-3 at 2 ¶ 9). When A.C. first disclosed that he

was transgender, he received therapy from a mental health provider to address the

psychological distress that he was suffering. (M.C. Dec. Dkt. 29-2 at 2 ¶ 11). When

this did not alleviate his distress, he was referred to the Riley Hospital program

where he continues to be seen. (Id. at 3 ¶ 13). As he has become older his symptoms

have increased, causing depression, anxiety, anger, and self-harm as he is faced with

a maturing body that does not match his gender identity. (Id. at 2 ¶ 12). To help

address his gender dysphoria, his health professionals have prescribed hormonal

suppression to block his menstrual periods. (A.C. Dec. Dkt. 29-3 at 2 ¶ 9; Fortenberry

Dec. Dkt. 29-1 at 13 ¶ 45). He intends to start receiving testosterone when medically

indicated. (A.C. Deposition [“A.C. Dep.”] Dkt. 34-2 at 6 [30:14 – 31:15]).

       Once A.C. was able to present himself to the world as a boy, some of his

emotional and psychological distress decreased, although he continues in counseling.

(M.C. Dec. Dkt. 29-2 at 2 ¶ 10; M.C. Deposition (“M.C. Dep.”) Dkt. 38-2 at 4:16-20).

Being treated as a boy makes him seem more like himself and makes him happier,

lowering his depression and anxiety. (Id.). He is happiest in the summer when he is




              5.    A strong desire to be treated as the other gender (or some alternative
              gender different from one’s assigned gender).

              6.     A strong conviction that one has the typical feelings and reactions of the
              other gender (or some alternative gender different from one’s assigned gender).

       B.    The condition is associated with clinically significant distress               or
       impairment in social, occupational, or other important areas of functioning.

(Fortenberry Dec. Dkt. 29-1 at 6 ¶ 21).
                                             [5]
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out of school and no one treats him as if he were a girl. (Id.). However, when he is in

school and is not treated as a boy, his depression and anxiety become progressively

worse as the school year continues. (Id.).

      One source of anxiety in his school life has been misgendering—being referred

to by a girl’s name and not the male name that he uses—which increases his

dysphoria. (Id. at 3 ¶¶ 16-18; A.C. Dec. Dkt. 29-3 at 3-4 ¶¶ 12-18). Although the

misgendering by school personnel was an issue that A.C. raised in his complaint

(Complaint Dkt. 1 at 9 ¶¶ 58-59), school personnel have now been instructed to refer

to A.C. by his male name and with male pronouns. (Kutruff Deposition [“Kutruff

Dep.”] Dkt. 29-4 at 34: 2-7). A.C. has received a legal name change from an Indiana

court. (Dkt. 38-3).

      B.     Access by A.C. to his school’s boys’ restrooms

      When A.C. first told his mother that he was transgender, he was attending

elementary school in Anderson, Indiana. (A.C. Dec. Dkt. 29-3 at 2 ¶ 10). He tried not

to use the restroom at all at school because the only one that he was allowed to use

was for girls. (Id.). After moving to Martinsville in the 5th grade, A.C. primarily used

the single-person restroom in the school’s health clinic—for which he had to ask

permission from the guidance counselor in both 5th and 6th grades. (A.C. Dep. Dkt.

34-2 at 2 [12:8 – 13:16]).

      In the 2021-2022 school year, A.C. started at the John R. Wooden Middle

School, which contains the 7th and 8th grades. (Id. at 2 [13:17-20]; Kutruff Dep. Dkt.

29-4 at 8:11-14). At the beginning of the school year, he did not use the restroom at


                                             [6]
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all while he was at school. (Id. at 2 [13:21-25]). In September or early October, A.C.’s

stepfather contacted the school and asked that he be permitted to use the boys’

restroom. (M.C. Dec. Dkt. 29-2 at 4 ¶ 19). The request was denied and he was told

that A.C. could use the girls’ restrooms or the restroom in the health clinic. (Id.). The

health clinic restroom contains a single toilet, designed for use by anyone. (Kutruff

Dep. Dkt. 29-4 at 49:20-22). In order to use that restroom a student has to obtain

permission and even A.C would have to sign in at the office to use it. (Id. at 51:18-

22).

       The regular student restrooms at the school are designed to be used during the

students’ four-minute passing periods, absent teachers allowing students to leave

during class. (Id. at 48:8-23). These restrooms have multiple stalls and, as

appropriate, multiple urinals. (Id. at 48:24 – 49:4). There are doors on the stalls and

the urinals are separated by dividers. (Id. at 49:4-11).

       Using the girls’ restrooms is not an option as A.C. is a boy. (A.C. Dec. Dkt. 29-

3 at 4 ¶ 23). Use of the clinic restroom proved problematic from a practical standpoint

as it is far from A.C.’s classes and using it during the four-minute passing periods

caused him to be late for classes, which resulted in him being marked tardy and

subjected him to discipline. (Id. at 4 ¶¶ 20-21). Moreover, it singles him out as being

different and does not allow him to be himself. (Id. at 4 ¶ 22).

       Rather than use the girls’ restrooms or the restroom in the health office, A.C.

would try to avoid using the restroom at all. (Id. at 4 ¶22). Even though this caused

him physical discomfort, it was better than being singled out as different. (Id.).


                                           [7]
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      In the fall of 2021 M.C. asked GenderNexus, an advocacy organization for

transgender people and their families, for help advocating with Martinsville. (M.C.

Dec. Dkt. 29-2 at 4 ¶ 21). This resulted in a meeting on November 3, but Martinsville’s

position did not change – A.C. was not allowed to use the boys’ restrooms. (Id. at 4 ¶

22). However, Martinsville indicated that A.C. would no longer be disciplined for

being late to class and it also offered to allow him to attend school at home via on-line

education. (Id.).

      Despite Martinsville’s position, following the meeting A.C. did begin to use the

boys’ restroom. (Id. at 5 ¶ 24; A.C. Dec. Dkt. 29-3 at4 ¶ 23). A.C.’s mother noticed an

immediate and positive change when A.C. began using the boys’ restrooms. (M.C.

Dec. Dkt. 29-2 at 5 ¶ 24; M.C. Dep. Dkt. 38-2 at 59:12-23). He felt more comfortable

at school and felt better about himself as he was living as a boy. (M.C. Dec. Dkt. 29-

2 at 5 ¶ 24). A.C.’s use of the restrooms, all with individual stalls with doors that

close, caused no issues with other students and no student questioned his presence

in the boys’ restrooms. (Dkt. 29-3 at 5 ¶ 24). There were no student complaints.

(Kutruff Dep. Dkt. 29-4 at 65:6-21).

      However, when a staff member noticed that A.C. was using the boys’ restroom,

A.C. was instructed on November 22, 2021 that he was not to use the boys’ restrooms

and was told that if he did it again, he could be disciplined. (Id. at 65:22 – 66:25; Dkt.

29-3 at 5 ¶ 25). The school’s principal met with A.C. the following week and reiterated

that he was not allowed to use the boys’ restroom and must only use the girls’

restroom or the restroom in the health clinic and stated that A.C. would be punished


                                           [8]
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if he continued to use the boys’ restroom. (Kutruff dep. Dkt. 29-4 at 67:11-24).

Martinsville advised all staff that students may only use the restrooms of the sex

assigned at birth or the clinic restroom. (Kutruff Dep. Dkt. No. 29-4 at 14:19-15:4,

82).

       Though never mentioned to A.C. or M.C., Martinsville does ostensibly provide

for transgender students' access to bathrooms that align with their gender identity

on a “case-by-case basis.” (M.C. Dec. Dkt. 29-2 at 5 ¶ 28; Kutruff Dep. Dkt. 29-4 at

15:17 - 16:14; 23:6-15; 28:5-22; 73:10 - 74:7). Martinsville will evaluate restroom

requests based on how long the student has identified as transgender; whether the

student is under a physician’s care; if the student has been diagnosed with gender

dysphoria; if the student was prescribed hormones; and if the student has filed for a

legal name or gender marker change. (Kutruff Dep. Dkt. 29-4 at 23:12-24:5). Based

on this unwritten policy, transgender students in Martinsville’s high school are

allowed to use restrooms that align with their gender identity. (Id. 23:6-15; 28:5-22).

       Once A.C. and his mother learned that Martinsville allowed some transgender

students to use restrooms consistent with their gender identity, they provided

Martinsville a letter from Dr. Fortenberry to demonstrate that A.C. meets these

criteria. (M.C. Dec. Dkt. 29-2 at 9). The letter specified that A.C. consistently

identified as a boy for years, is under the care of the Gender Health Clinic at Riley

Hospital and has gender dysphoria for which he is receiving treatment, including

potentially hormones in the future. (Id.). Martinsville was also advised that the

failure to allow A.C. to use the boys’ restrooms, among other things, is a source of


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significant distress, depression, and anxiety for him. (Id.). As is demonstrated by the

continuing of this litigation, this did not change Martinsville’s position concerning

A.C.’s restroom access.

      Not being able to use the boys’ restrooms worsened the anxiety and depression

caused by A.C.’s gender dysphoria, making him feel isolated and punished for who he

is. (Id. at 5 ¶ 27). Martinsville’s actions signaled to students that he is not a real boy

and makes school painful. (Id.). Being treated as a boy at school is extremely

important to A.C.’s mental and physical health and it causes him a great deal of

discomfort and mental distress to be at school when he cannot be who he is. (Id. at 5

¶ 28). It makes him unable to focus on learning, instead making him feel isolated and

unable to be himself. (Id. at 6 ¶ 29). It also undermines the benefits he has obtained

from his social transition, family support and medical care. (M.C. Dec. Dkt. 29-2 at 6

¶ 32). A.C. is an intelligent child who gets good grades and loves learning. (Id. at 7 ¶

36). He was formerly in the gifted and talented program, but now finds it hard to go

to school because the school will not recognize him as the boy he is. (Id.). This is

chronically disrupting both his education and life, leaving him depressed, humiliated,

angry, and suffering emotionally, psychologically, and physically. (Id. at 7 ¶¶ 35-37).

His anxiety and depression from not being accepted at school follow him home where

he wants to isolate himself. (M.C. Dep. Dkt. 38-2 at 62:4-8).

      C.     Gender dysphoria and its treatment

      The term “gender identity” is a well-established medical concept that refers to

one’s sense of belonging to a particular gender. (Fortenberry Dec. Dkt. 29-1 at 4 ¶ 13).


                                           [10]
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For many people gender identity is congruent with one’s anatomical features, such

that many persons classified as male at birth later identify as male and many persons

classified as female at birth later identify as female. (Id. at 4 ¶¶ 13-14).

       However, persons who are transgender have a much different experience of

gender. (Id. at 4 ¶ 14). Up to 0.6% of persons in Indiana are transgender, and recent

research from the Centers for Disease Control and Prevention shows that up to 1.9%

of high school students identify as transgender. (Id. at 4-5 ¶ 16). Transgender

individuals have a gender identity that differs from their sex assigned at birth and

this incongruence between a person’s sex assigned-at-birth and gender identity can

cause significant distress and may result in a gender dysphoria diagnosis. (Id. at 4-5

¶¶ 15, 18, 21).    This conflict may arise at a very young age, although it often

intensifies at puberty. (Id. at 4 ¶ 14).

       The senses of distress underlying a gender dysphoria diagnosis presents

through various symptoms and can, if untreated, result in clinically significant

anxiety and depression, self-harming behaviors, substance abuse, and suicidality. (Id.

at 5 ¶ 18). Research consistently demonstrates that the rates of attempted suicide for

young persons with gender dysphoria is much higher than those who do not suffer

with gender dysphoria. (Id. at 5 ¶ 19).

       The standards for the treatment of gender dysphoria established by the World

Professional Association for Transgender Health (“WPATH”) are internationally

recognized as the authoritative standards of care by leading medical and mental

health organizations, including the American Medical Association, the Endocrine


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Society, the American Psychological Association, and the American Psychiatric

Association. (Id. at 5 ¶ 24). The WPATH Standards of Care recognize that the

principal treatment of gender dysphoria is to allow the young person the full

expression of their gender identity. (Id. at 6 ¶ 27). Treatment focuses on alleviating

distress through supporting outward expression of the person’s gender identity—

which is social role transition—allowing young people to express their genders

through names and pronouns and social behaviors consistent with their gender

identity (Id. at 8-10 ¶¶ 27-28, 31, 34). Treatment may also involve bringing the

person’s body into alignment with their gender identity, to the extent deemed

medically appropriate, although gender-affirming surgery is generally not performed

on patients under the age of 18. (Id. at 9 ¶ 29). Counseling is often an important part

of treatment, with its purpose being to assist the person with the depression, anxiety,

and suicidality that may flow from gender dysphoria and being transgender and not

being accepted by family, friends, and society. (Id. at 9-10 ¶ 32).

      D. The importance of restroom access

      The WPATH Standards of Care recognize that allowing for social role

transition, so that the person may express themselves in a way that is consistent with

their gender identity, is essential to ameliorate gender dysphoria. (Id. at 10 ¶ 34).

Research shows that support for social role transition, particularly from family and

social institutions such as schools, lessens the negative consequences of gender

dysphoria. (Id. at 10-11 ¶ 35).

      Research also demonstrates that school is the most traumatic aspect of


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growing up for transgender youth. (Id. at 11 ¶ 36). Rejection and discrimination by

teachers and school personnel lead to feelings of shame and unworthiness and create

daily stigmatizing experiences. (Id.).

      The importance of using restrooms that match a person’s gender identity

cannot be overstated, as it is a prime component of gender affirmation. (Id. at 11 ¶

37). Being forced to use restrooms that differ from the person’s identity is a constant

source of anxiety and distress, leading to self-harming behaviors including

suicidality. (Id.). Recent scholarship demonstrates that among transgender and

nonbinary students denied access to restrooms consistent with their gender identity,

85% reported depression, 60% had serious thoughts of suicide, and about 33%

reported that they had attempted suicide in the last year. (Id. at 11-12 ¶ 37). Gender

dysphoric students denied access to restrooms consistent with their gender identity

will restrict their liquids and suppress their bodily functions to avoid using the

restroom at all while they are in school. (Id. at 12 ¶ 38). This can cause physical

discomfort and injury. (Id.).

      Reserving a “special” restroom solely for a transgender student, when there

are sex-specific restrooms for other students, does not resolve the problems caused by

barring the transgender student from the facilities that are consistent with their

gender identity. (Id. at 12 ¶ 39). It just continues the message that the transgender

student is different from the student’s peers and should be segregated from them.

(Id.). This contributes to feelings of isolation and low self-esteem that are common

among transgender persons. (Id.). These experiences of shame and discrimination


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have negative long-term consequences, creating a greater risk for posttraumatic

stress disorder, depression, life dissatisfaction, anxiety, and suicidality when the

student becomes an adult. (Id. at 12 ¶ 40).

II.   Procedural history

      A.C. filed his Complaint for Declaratory and Injunctive Relief and Damages on

December 3, 2021. (Dkt. 1 at 1). The complaint seeks injunctive relief requiring that

A.C. be allowed access to boys’ restrooms, requiring that A.C. be referred to by

masculine pronouns and name, and requiring that he be allowed to play with the

boys’ soccer team this fall. (Id. at 10). On the same date A.C. filed his motion for

preliminary injunction. (Dkt. 9 at 1). He did not seek a preliminary injunction

concerning participation in boys’ soccer (Dkt. 30 at 2 n.1), and as indicated previously,

supra at 6, Martinsville has now determined that A.C. is to be referred to by male

pronouns and by his male name. Therefore, the issue before the district court on the

motion for preliminary injunction was whether A.C. should be allowed access to male

restrooms.

      On April 8, 2002, the district court heard oral argument on the preliminary

injunction motion and it entered its Order on Plaintiff’s Motion for Preliminary

Injunction on April 29, 2022. (S.A. at A01). On May 19, 2022, the district court entered

a stand-alone preliminary injunction. (Id. at A17).

      In its Order granting A.C.’s motion for preliminary injunction, the district

court found that A.C. established the required likelihood of success on the merits of

his claims. (Id. at A10). The court held that Whitaker remains good law and was


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binding on it. (Id. at A10-A11). The district court further noted that Martinsville’s

argument that it was allowed to maintain sex-separated restrooms ignored A.C.’s

claim that he has the right to use the existing facilities that align with his gender

identity. (Id. at A11). The district court found that although Martinsville had an

unwritten policy allowing, on a case-by-case basis, some transgender students to use

restrooms consistent with their gender identity, that policy was not made known to

A.C. until after this case was filed, and there was no indication as to what additional

steps by A.C. would be sufficient for him to be allowed access to the boys’ restrooms.

(Id.).

         As to the other preliminary injunction factors, the district court found that A.C.

was faced with irreparable harm for which there is no adequate remedy at law. “Like

other courts recognizing the potential harm to transgender students, this Court finds

no reason to question the credibility of A.C.’s account and that the negative emotional

consequences with being refused accessed to the boys’ restrooms constitute

irreparable harm that would be difficult—if not impossible—to reverse.” (Id. at A13)

(internal quotation marks and citation omitted). The emotional harm A.C. identified

cannot be rectified by damages. (Id. at A14).

         The district court found that the balance of harms clearly favors A.C. as he

presented evidence of the actual harm that he was suffering, as opposed to

Martinsville’s concern “with the privacy of other students [that] appears entirely

conjectural. No evidence was provided to support the School District’s concerns.” (Id.).

Moreover, Martinsville’s articulated privacy interest was undermined by the fact that


                                            [15]
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other transgender students are allowed to use the restrooms associated with their

gender identity with no evidence presented that this caused problems. (Id.).

      Finally, the district court found the public interest would be served by

vindicating A.C.’s statutory and constitutional rights and rejected the argument that

allowing A.C. access to the boys’ restrooms would threaten anyone’s privacy interests.

(Id. at A15).

      The district court therefore granted the preliminary injunction and ordered

that Martinsville “shall permit A.C. to use any boys’ restroom within John R. Wooden

Middle School. (Id.)



                            Summary of the Argument

      In Whitaker, this Court held that requiring a transgender student to use a

restroom that does not conform to his gender identity is discrimination “on the basis

of sex,” which violates Title IX and which is subject to heightened equal protection

scrutiny. 858 F.3d at 1049, 1051.

      This case cannot be distinguished from Whitaker, and the district court

properly concluded that A.C. is likely to prevail on his claim that denying him access

to male restrooms violates Title IX.

      Whitaker also compels the conclusion that the sex discrimination inflicted by

Martinsville violates equal protection as Martinsville is unable to establish the

required “exceedingly persuasive justification” to justify the discrimination. United

States v. Virginia, 518 U.S. 515, 533 (1996). Martinsville’s articulated concerns about


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needing to protect student privacy are conjectural and are unsupported by the record.

The record establishes that when A.C. was able to use male restrooms for a brief

period there were no issues with other students. It further establishes that

Martinsville allows other transgender high school students to use restrooms

consistent with their gender identity without any problems. The identical privacy

justification raised by Martinsville was rejected not only by Whitaker, but by other

courts as well. The district court therefore properly concluded that A.C. was likely to

succeed on the merits of his equal protection claim.

      Because Whitaker is directly on point, Martinsville is left to argue that this

Court should “revisit” Whitaker. (Appellants’ Br. at 18). There are no grounds to do

so. In Bostock the Supreme Court held that discrimination against persons because

they are gay or transgender is sex discrimination under Title VII “because to

discriminate on these grounds requires an employer to intentionally treat individual

employees differently because of their sex.” 140 S. Ct. at 1742. Bostock therefore

supports this Court’s conclusion in Whitaker that discrimination against a

transgender student is sex discrimination. Martinsville argues that Whitaker itself

violates Title IX because the statute and its regulations allow for sex-segregated

facilities. But A.C. is not challenging the maintenance of sex-segregated restrooms as

a general matter. He is challenging the fact that he is being excluded from the sex-

segregated restrooms that correspond to his gender because he is transgender.

Finally, the fact that Whitaker used what is now an incorrect standard to assess the




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likelihood of success for a preliminary injunction in no way undermines this Court’s

legal conclusions regarding Title IX and equal protection.

      Martinsville also argues that the district court erred in concluding that A.C.

met the other factors for the grant of a preliminary injunction. However, A.C. is

suffering irreparable harm for which there is no adequate remedy at law, not just

because Martinsville is denying him rights guaranteed by equal protection and Title

IX, but also from the undisputed fact that being denied access to the male restrooms

has caused him physical pain and serious emotional distress. The district court also

properly found that the balance of harms favors A.C. as the harms postulated by

Martinsville are illusory. Finally, the public interest is served by supporting

constitutional rights and the rights protected by Title IX.



                                      Argument

I.    Standard of review

      “When reviewing the grant of a preliminary injunction, [this Court] review[s]

the district court’s findings of fact for clear error and its legal conclusions de novo.”

Common Cause Indiana v. Lawson, 937 F.3d 944, 957 (7th Cir. 2019) (further citation

omitted). The clear error standard applies to factual findings “even when the district

court’s findings do not rest on credibility determinations, but are based instead on

physical or documentary evidence.” Anderson v. City of Bessemer City, N.C., 470 U.S.

564, 574 (1985). “A district court may abuse its discretion by making a clear factual

error or a mistake of law. But [this Court] give[s] substantial deference to the court’s


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weighing of evidence and balancing of the various equitable factors.” Turnell v.

CentiMark Corp., 796 F.3d 656, 662 (7th Cir. 2015) (internal citations omitted).

II.   This Court held in Whitaker that denying a transgender student the ability to
      use restrooms consistent with his gender identity is discrimination on the basis
      of sex

       Title IX provides that no person “shall, on the basis of sex, be excluded from

participation in, be denied the benefits of, or be subjected to discrimination under any

educational program or activity receiving Federal financial assistance.” 20 U.S.C.

§ 1681(a). Martinsville makes a lengthy argument that Title IX and its regulations

give it the ability to exclude A.C. from male restrooms. However, absent from this

argument is an explicit acknowledgement that this Court held in Whitaker that

denying a transgender student the ability to use restrooms consistent with his gender

identity—the precise discrimination meted out to A.C.—is discrimination on the basis

of sex. Although Martinsville eventually segues into a non-meritorious argument,

responded to below, that this Court should “revisit” Whitaker, it seeks to minimize

the obvious: this case is on all fours with Whitaker.

      In Whitaker, while affirming a preliminary injunction for a transgender male

student who had been denied access to his high school’s boys’ restrooms, this Court

determined that “[b]y definition, a transgender individual does not conform to the

sex-based stereotypes of the sex that he or she was assigned at birth” and that

“requir[ing] an individual to use a bathroom that does not conform with his or her

gender identity punishes that individual for his or her gender non-conformance,




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which in turn violates Title IX.” 858 F.3d at 1048-49.3 From an equal protection

standpoint, this is sex discrimination and “all gender-based classifications today

warrant heightened scrutiny.” United States v. Virginia, 518 U.S. 515, 555 (1996)

(internal quotation and citation omitted). A defendant’s justification for such

discrimination must be “exceedingly persuasive,” requiring the defendant to

demonstrate that the “classification serves important governmental objectives and

that the discriminatory means employed are substantially related to the achievement

of those objectives.” Whitaker, 858 F.3d at 1050 (quoting United States v. Virginia,

518 U.S. at 524, 533 (cleaned up)).

           In awarding A.C. a preliminary injunction, the district court correctly applied

these legal standards both with regard to Title IX and equal protection.

    III.   The district court properly found that A.C. is likely to prevail on the merits of
           his claim that denying him access to the male restrooms violates Title IX

           To prevail on his Title IX claim, A.C. must demonstrate “(1) that he was

excluded from participation in an education program ‘on the basis of sex’; (2) that the

educational institution was receiving federal financial assistance at the time; and (3)

that improper discrimination caused him harm.” Grimm v. Gloucester Cnty. Sch. Bd.,

972 F.3d 586, 616 (4th Cir. 2020), cert. denied, –U.S.–, 141 S. Ct. 2878 (2021). It is

undisputed that Martinsville is a recipient of federal financial assistance (supra at 3)

and restrooms are part of Martinsville’s education program, see, e.g., Grimm, 972



3       In Whitaker, the Court noted that numerous courts had recognized that transgender
plaintiffs could bring discrimination claims based on the sex-stereotyping theory recognized
in Price Waterhouse v. Hopkins, 490 U.S. 228 (1989). Whitaker, 858 F.3d at 1048-49 (citing
cases).
                                              [20]
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F.3d at 626.

      The legal question of whether Martinsville’s exclusion of A.C. from the boys’

restrooms solely because he is transgender constitutes prohibited sex discrimination

under Title IX was answered by this Court in Whitaker. Like the plaintiff in that case,

A.C. is a transgender male who has a lengthy and consistent history of identifying as

male; who is diagnosed with gender dysphoria; who is in therapy; who has publicly

transitioned; who used the boys’ restrooms in school without incident until he ceased

doing so when threatened with discipline; who is experiencing significant distress,

depression, and anxiety because of not being able to use male restrooms; and who

tries not to use the school restrooms at all, despite the fact that this causes him

physical distress. Compare Whitaker, 858 F.3d 1040-41, with supra at 3-10.

      It is uncontested that because of not being able to use the boys’ restrooms, A.C.

will sometimes avoid using the bathroom at school, and while this causes him

physical discomfort, he believes that doing so is better than being made to feel

different and singled out by being required to use the distant clinic restroom. (Supra

at 7). Of course, the harm that can be demonstrated to prove a Title IX violation is

not restricted to physical harm but includes “emotional and dignitary harm.” Grimm,

972 F.3d at 618. And it is not disputed that being recognized as the boy he is at school

is critical to A.C.’s overall well-being. (Supra at 13). A.C.’s exclusion from the boys’

restrooms exacerbates his gender dysphoria, increasing his anxiety and depression.

(Supra at 7, 10). These harms will continue unabated, making him feel like an outcast

at school because of who he is, until Martinsville treats A.C. like all other boys. (Supra


                                           [21]
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at 7, 10). For these reasons, the use of the distant health office, where A.C. has to

sign in to use the restroom and where he is singled out as different from his

classmates, is not an adequate substitute. (Supra at 7). This is no different than

Whitaker, where this Court noted that the fact that the plaintiff was allowed to use a

gender-neutral restroom in the school’s office was not a true alternative to restrooms

consistent with his identity given the distance from his classes and the increased

stigmatization that the alternative caused him. Whitaker, 858 F.3d at 1050.

      The nature of A.C.’s harm is demonstrated by the fact that for the brief period

of time that A.C. used the male restrooms, without incident, he became more

comfortable at school and felt better about himself as he was able to live as a boy.

(Supra at 8). As Dr. Fortenberry noted, being denied the ability to use the restroom

associated with one’s gender identity “is an ever-present source of distress and

anxiety” for a transgender person and was noted as a source of distress for A.C.

(Fortenberry Dec. Dkt. 29-1 at 11 ¶ 37; M.C. Dec. Dkt. 29-2 at 9). Being denied the

ability to use male restrooms caused and, if the injunction is lifted, will again cause

A.C. harm.

      It is true that because of his age, A.C. has yet to begin receiving hormones,

although he intends to receive them when they become medically available to him.

(Supra at 5). However, he is on hormone-suppressing medications, which suppress

his menstrual cycle, and is typically male in appearance, treated as male by his

family, and is known as a boy. (Supra at 3-4) It is also true that Ash Whitaker was in

high school and A.C. is in middle school. These differences do not affect Whitaker’s


                                         [22]
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applicability—the meaning of “discrimination on the basis of sex” under Title IX does

not turn on an individual’s age.4 Like the student in Whitaker, “[t]his is not a case

where a student has merely announced that he is a different gender. Rather, [A.C.]

has a medically diagnosed and documented condition.” Whitaker, 858 F.3d at 1050.

       This Court need go no further than Whitaker to conclude that A.C. has a

probability of success in demonstrating that he has been subjected to discrimination

on the basis of sex. However, Whitaker is not alone. The Fourth Circuit in Grimm

concluded that a transgender student who was denied access to male restrooms

demonstrated a violation of Title IX. 972 F.3d at 619.5 In Doe ex rel. Doe v. Boyertown


4       Martinsville notes repeatedly that A.C. was denied a gender-marker change by an
Indiana state court. (See. e.g., Appellants’ Br. at 30). The relevance of this is not clear as
Martinsville’s entire argument, made in the face of Whitaker, is that because A.C. was
assigned the sex of female at birth, he may be barred from male restrooms. Obviously, a
gender-marker change will not alter his genitalia. Moreover, the state court denying his
gender-marker change request noted that it did not know if it had the authority to issue such
an order (Dkt. 43-1 ¶ 6), a concern ratified by recent case law in Indiana. See In re: the Change
of Gender of: O.J.G.S., A Minor, 187 N.E.3d 324, 330 (Ind. Ct. App. 2022) (finding no statutory
authority for courts to order a change of a minor’s gender marker on a birth certificate and
disagreeing with a prior appellate decision involving some of the same litigants that held to
the contrary, see In re Change of Gender Identification of A.B., 164 N.E.3d 167, 170-71 (Ind.
Ct. App. 2021)). Since the filing of this appeal a different Indiana trial court has entered an
order changing A.C.’s gender marker on his birth certificate to “male.” A redacted copy of this
order has been filed in appellee’s supplemental appendix and an unredacted copy has been
filed on this date accompanied by a motion to seal. Appellee requests that this Court take
judicial notice of this order. See. e.g., Spiegel v. Kim, 952 F.3d 844, 847 (7th Cir. 2020) (“A
court may take judicial notice of public records such as the state court documents.”), cert
denied, –U.S.–, 141 S. Ct. 369 (2020).

       In the district court Martinsville argued that the decision of the state court on the
gender marker issue was entitled to collateral estoppel effect. (Dkt. 42). The district court
properly rejected the request, noting that the issue of a gender marker change was not the
issue presented by this case. (Dkt. 47 at 2). After all, Ash Whitaker also could not obtain a
gender-marker change. Whitaker, 858 F.3d at 1053. Although Martinsville mentions its
request (Appellants’ Br. at 6), it does not renew its collateral estoppel argument in this Court
or otherwise challenge the district court’s decision in this regard.

5      The court noted, in language apposite to this case that:
                                              [23]
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Area School District, 897 F.3d 518 (3d Cir. 2018), the court rejected a claim by

cisgender students that a policy allowing transgender students to access bathrooms

consistent with their gender identity violated the cisgender students’ rights under

Title IX by noting that “requiring transgender students to use single user or birth-

sex-aligned facilities is its own form of discrimination.” Id. at 530. And, in Dodds v.

United States Department of Education, 845 F.3d 217 (6th Cir. 2016), the court, in

refusing to grant a school district a stay of a preliminary injunction pending appeal

that ordered the district to allow an eleven-year-old transgender girl to use female

restrooms noted that the school district could not establish the likelihood that it

would    succeed    on    appeal    given   that     sex-stereotyping    was   impermissible

discrimination. Id. at 221. See also Parents for Privacy v. Dallas Sch. Dist., 326 F.

Supp. 3d 1075, 1106 (D. Or. 2018) (rejecting a challenge by cisgender students to a

policy allowing transgender students to use facilities consistent with gender identity

and stating that “[f]orcing transgender students to use facilities inconsistent with

their gender identity would undoubtedly harm those students and prevent them from



        Grimm has consistently and persistently identified as male. He had been
        clinically diagnosed with gender dysphoria, and his treatment provider
        identified using the boys restrooms as part of the appropriate treatment.
        Rather than contend with Grimm’s serious medical need, the Board relied on
        its own invented classification, “biological gender,” for which it turned to the
        sex on his birth certificate. And even when Grimm provided the school with his
        amended birth certificate, the Board still denied him access to the boys
        restrooms.

        For these reasons, we hold that the Board’s application of its restroom policy
        against Grimm violated Title IX.

972 F.3d at 619 (emphasis by the court) (footnote omitted).

                                              [24]
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equally accessing educational opportunities and resources” and would violate Title

IX), aff’d, 949 F.3d 1210 (9th Cir. 2020), cert. denied, –U.S.–, 141 S. Ct. 894 (2020);

M.A.B. v. Bd. of Educ. of Talbot Cnty., 286 F. Supp. 3d 704, 717 (D. Md. 2018)

(denying a motion to dismiss and finding that refusing a transgender student access

to the locker room consistent with his gender identity stated a Title IX claim).

       A.C. is likely to prevail on his Title IX claim.

IV.    A.C. is likely to prevail on his equal protection claim

       A.     Martinsville’s exclusion of A.C. from the boys’ restrooms is sex
              discrimination, triggering heightened scrutiny

       By excluding A.C. from the boys’ restrooms solely because he is transgender,

Martinsville has discriminated against him on the basis of his sex in violation of the

Equal Protection Clause. This Court has already held in Whitaker that where a

“School District’s policy cannot be stated without referencing sex,” then the policy

creates a sex-based classification for purposes of equal protection. 858 F.3d at 1051.

This, of course, echoes the analysis already described in the context of Title IX. And

the holding of Whitaker in this regard is not unique. See also Grimm, 972 F.3d at 607

(applying heightened scrutiny as “the bathroom policy rests on sex-based

classifications”); M.A.B., 286 F. Supp. 3d at 718-19 (subjecting a ban of a transgender

male student from male locker rooms to intermediate scrutiny as it represents sex-

based discrimination).6 Here, Martinsville’s position that A.C. cannot use the boys’



6      The court in Adams v. School Board of St. Johns Co., Fla., 3 F.4th 1299 (4th Cir. 2021),
vacated and en banc rehearing granted, 9 F.4th 1369 (4th Cir. 2021), also concluded that a
school policy that prevented a male transgender student from using male restrooms was
subject to intermediate scrutiny as a gender-based classification. Id. at 1307-08. As noted,
                                             [25]
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restroom because of his “biological sex” this is a sex-based classification.

      All sex-based classifications are subject to “demanding” scrutiny, requiring

Martinsville to demonstrate “an exceedingly persuasive justification” for its

differential treatment. United States v. Virginia, 518 U.S. at 533. Under heightened

scrutiny, Martinsville carries the burden of demonstrating that the classification

“serves important governmental objectives and that the discriminatory means

employed are substantially related to the achievement of those objectives.” Id. at 524.

“It is not sufficient to provide a hypothesized or post hoc justification created in

response to litigation. Nor may the justification be based upon overbroad

generalizations about sex. Instead, the justification must be genuine.” Whitaker, 858

F.3d at 1050 (internal citations omitted).

      B.     Excluding A.C. from the boys’ restrooms is not substantially related to
             an important governmental objective

      Martinsville argues that its policy is justified by its “important objectives of

protecting the interest of students in using the restroom away from the opposite sex

and in shielding their bodies from exposure to the opposite sex.” (Appellants’ Br. at

16). But this Court has already rejected that precise argument in Whitaker.

      The record undermines Martinsville’s claim that excluding A.C. from boys’

restrooms is necessary to protect the privacy interests of non-transgender students.

It is uncontested that when A.C. used the male bathrooms for three weeks, he did so

without any negative reaction from students and there is absolutely no evidence that



the decision has been vacated and the Fourth Circuit is conducting en banc review of the
case.
                                          [26]
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any unwanted privacy violations occur in the restroom generally or occurred during

that time. (Supra at 8). It is incumbent on Martinsville to present evidence and not

to rest upon “hypothesized or post hoc justification[s].” Whitaker, 858 F.3d at 1050.

Martinsville presents only hypothesized harm.

      The fact that Martinsville can produce no evidence to support its hypothesized

harm is not surprising. For it is uncontested that Martinsville does allow some

transgender students in its high school to use restrooms that are consistent with their

gender identity. (Supra at 9). Martinsville does not adequately explain why the

privacy concerns that it articulates are greater in middle school than in high school.

The fact that it can cite no examples of privacy concerns from the experiences of high

school students certainly demonstrates that the absence of any privacy concerns in

the middle school is neither surprising nor an aberration.

      The articulated privacy concerns are also without legitimacy. As this Court

noted in Whitaker, in language that bears repeating at length,

      [a] transgender student’s presence in the restroom provides no more of
      a risk to other students’ privacy rights than the presence of an overly
      curious student of the same biological sex who decides to sneak glances
      at his or her classmates performing their bodily functions. Or for that
      matter, any other student who uses the bathroom at the same time.
      Common sense tells us that the communal restroom is a place where
      individuals act in a discreet manner to protect their privacy and those
      who have true privacy concerns are able to utilize a stall. Nothing in the
      record suggests that the bathrooms at [the] High School are particularly
      susceptible to an intrusion upon an individual's privacy. Further, if the
      School District’s concern is that a child will be in the bathroom with
      another child who does not look anatomically the same, then it would
      seem that separate bathrooms also would be appropriate for pre-
      pubescent and post-pubescent children who do not look alike
      anatomically. But the School District has not drawn this line. Therefore,
      this court agrees with the district court that the School District’s privacy

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       arguments are insufficient to establish an exceedingly persuasive
       justification for the classification.

858 F.3d at 1052-53.7 The Fourth Circuit in Grimm likewise emphasized that the

privacy arguments typically raised in this context fall flat, highlighting that many

school districts across the country successfully allow transgender students to use

restrooms matching their gender identity, without incident, and concluding that the

school’s concerns were merely conjectural. 972 F.3d at 614. And the court ultimately

concluded that the school’s policy, to the extent that it was based upon privacy

concerns, was “marked by misconception and prejudice.” Id. at 615.

       Courts have also evaluated these privacy concerns in the context of lawsuits

raised by non-transgender students seeking to prohibit transgender students from

using the restrooms associated with their gender identity. Other circuits have

rejected such privacy-related challenges. In Boyertown, the court concluded that any

impingement on cisgender students’ privacy rights was outweighed by the harm

caused to transgender students by not being able to use restrooms and locker rooms

consistent with their gender identity, and “the presence of transgender students in

these spaces does not offend the constitutional right of privacy any more than the

presence of cisgender students in those spaces.” 897 F.3d. at 533. See also Parents for

Privacy, 949 F.3d 1210, 1225 (9th Cir. 2020), cert. denied, –U.S–, 141 S. Ct. 894 (2020)

(cisgender students do not have a constitutional privacy right to not share restrooms



7      The fact that persons using restrooms, regardless of gender identity, tend to be
discreet, distinguishes the school’s bathrooms from situations, cited by Martinsville, where
persons are unknowingly videotaped and whose privacy has been invaded even when they
may have diligently attempted to protect it. (See Appellants’ Br. at 13-14, 16).
                                            [28]
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or locker rooms with transgender students).

       Of course, if cisgender students are somehow offended by A.C.’s presence in a

closed bathroom stall in a boys’ restroom, these students should be allowed to use the

restroom in the health office. This easy solution undercuts any justification that

Martinsville can offer for denying A.C. the ability to use the male restrooms. See, e.g.,

Boyertown, 897 F.3d at 530 (“cisgender students who feel that they must try to limit

trips to the restroom to avoid contact with transgender students can use the single-

user bathrooms in the school”); Parents for Privacy, 949 F.3d at 1225 (noting that the

school has “alternative options and privacy protections to those who do not want to

share facilities with a transgender student”); M.A.B., 286 F. Supp. 3d at 724 (the

alternatives that can be provided to cisgender students means that banning

transgender students from locker rooms consistent with their gender identity is not

substantially related to the asserted privacy interests). This easy solution to the

illusory and conjectural concerns of Martinsville further demonstrates that denying

A.C. the ability to use the boys’ restrooms is not related to any legitimate privacy

interest.8



8       In addition to arguing that Martinsville had engaged in sex discrimination, A.C. also
argued in the district court that his ban from restrooms is subject to elevated scrutiny
because it represented discrimination against transgender persons who must be deemed to
be a quasi-suspect class. (Dkt. 30 at 26 n.11; Dkt. 39 at 16-17). The district court did not reach
this issue and this Court need not do so either. However, as noted by numerous courts,
discrimination against transgender persons is subject to this elevated scrutiny. See, e.g.,
Grimm, 972 F.3d at 613; Karnoski v. Trump, 926 F.3d 1180, 1201 (9th Cir. 2019); Ray v.
McCloud, 507 F. Supp. 3d 925, 937 (S.D. Ohio 2020); M.A.B. v. Bd. of Ed. of Talbot Co., 286
F. Supp. 3d 704, 719-21 (D. Md. 2018); F.V. v. Barron, 286 F. Supp. 3d 1131, 1145 (D. Idaho
2018); Evancho v. Pine-Richland School Dist., 237 F. Supp. 3d 267, 289 (W.D. Pa. 2017);
Adkins v. City of New York, 143 F. Supp. 3d 134, 139 (S.D.N.Y. 2015). Transgender persons
certainly meet the four-part test set out in Windsor v. United States, 699 F.3d 169 (2d Cir.
                                               [29]
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V.     There are no grounds to revisit Whitaker

       Faced with Whitaker, a decision that is indistinguishable from this case,

Martinsville is left to argue that this Court should “revisit” that case. This Court has

shown a marked reluctance to overturn its prior decisions, particularly when the

decision is not an outlier and even if there is a split in the circuits. See, e.g., Buchmeier

v. United States, 581 F.3d 561, 565-66 (7th Cir. 2009) (en banc). Here, Whitaker is

certainly not an outlier, and the decision is supported by intervening Supreme Court

precedent. There is no reason to reconsider the decision.

       A.      This Court’s conclusions in Whitaker concerning Title IX are supported
               by the Supreme Court’s decision in Bostock

       Martinsville seeks support in Bostock for its argument that Whitaker should

be reexamined. (Appellants’ Br. at 22). Far from weakening this Court’s conclusion



2012), aff’d on other grounds, 570 U.S. 744 (2013), to determine whether a quasi-suspect class
is present:

            A) whether the class has been historically subjected to discrimination; B)
            whether the class has a defining characteristic that frequently bears a
            relation to ability to perform or contribute to society; C) whether the class
            exhibits obvious, immutable or distinguishing characteristics that define
            them as a discrete group; and D) whether the class is a minority or
            politically powerless.

Id. at 181. Although this Court in Whitaker did not reach the issue, it did point out the
“discrimination, harassment, and violence” faced by transgender persons, which it termed
“alarming.” 858 F.3d at 1051. And it cannot be argued that that a person’s transgender status
has any bearing on their ability to contribute to society. It is uncontested that one’s gender
identity is not a choice. (Dkt. 29-1 ¶ 17). Transgender persons comprise just a tiny fraction of
the population, only 0.6%, (id. ¶ 16) and obviously lack political power. Therefore, it would
be appropriate to analyze A.C.’s equal protection claim as discrimination against a member
of a quasi-suspect class. However, inasmuch as this results in the same scrutiny and result
as A.C.’s sex-discrimination claim, there is no need to pursue this matter further at this time,
although A.C. reserves the right to pursue it further in the district court.



                                              [30]
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in Whitaker concerning Title IX, Bostock supports it. There is certainly no basis to

disturb this controlling precedent.

      In Bostock, the Supreme Court considered challenges raised under Title VII by

individuals who had been subjected to adverse employment actions because of their

sexual orientation or transgender status. 140 S. Ct. at 1737-38. The Court

unequivocally concluded that sexual orientation and transgender status

      are inextricably bound up with sex. Not because homosexuality or
      transgender status are related to sex in some vague sense or because
      discrimination on these bases has some disparate impact on one sex or
      another, but because to discriminate on these grounds requires an
      employer to intentionally treat individual employees differently because
      of their sex.

Id. at 1742. The Court stressed that “[f]or an employer to discriminate against

employees for being homosexual or transgender, the employer must intentionally

discriminate against individual men and women in part because of sex. That has

always been prohibited by Title VII’s plain terms—and that should be the end of the

analysis.” Id. at 1743 (internal quotation and citation omitted).

      It is, of course, true that the Court in Bostock did not address the propriety of

denying transgender persons access to restrooms conforming to their gender identity

under either Title VII or Title IX, 140 S. Ct. at 1753, as that question was not before

it. This is not an invitation to revisit the binding precedent of Whitaker. The Court

certainly did not reject a sex-stereotyping approach to assessing discrimination

against transgender persons as it acknowledged that discriminating against someone

because they are transgender or gay is no more lawful than discriminating based on

sex stereotypes. Id. at 1742-43, 1749. In any event, the Supreme Court’s reasoning in

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Bostock cannot be construed as even questioning Whitaker where the exact same

conclusion was reached, regardless of the theory utilized: discrimination against

transgender persons is discrimination on the basis of sex.

      Martinsville’s argument that Bostock cannot be applied outside of the Title VII

context is wholly inconsistent with prevailing law. Courts have recognized that “[i]t

would be logically inconsistent with Bostock to find that Title IX permits

discrimination for being transgender.” C.P. ex rel. Pritchard v. Blue Cross Blue Shield

of Ill., 536 F. Supp. 3d 791, 796 (W.D. Wash. 2021). In Grimm, the court concluded

that denying a transgender student the ability to use restrooms consistent with his

gender identity violated both Title IX and equal protection. 972 F.3d at 616, 619. In

doing so, the court recognized that Bostock supported its holding that the plaintiff

had been discriminated against “on the basis of sex” as Bostock found that “the

discriminator is necessarily referring to the individual’s sex to determine

incongruence between sex and gender, making sex a but-for cause for the

discriminator’s actions.” Id. at 616 (citing Bostock, 140 S. Ct. at 1741-42). In Doe v.

Snyder, 28 F.4th 103 (9th Cir. 2022), the Ninth Circuit rejected a district court’s

attempt to limit Bostock’s reasoning to Title VII: “Given the similarity in language

prohibiting sex discrimination in Titles VII and IX, we do not think Bostock can be

limited in the manner the district court suggested.” Id. at 114.

      Martinsville’s argument simply is that “sex” means one thing under Title VII

but something different under Title IX. It offers no explanation for why this would

be, and it ignores the fact that courts have routinely “used precedent interpreting the


                                         [32]
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antidiscrimination provisions of Title VII in [their] analysis of comparable provisions

in Title IX.” Peltier v. Charter Day Sch., Inc., 37 F. 4th 104, 130 n.22 (4th Cir. 2022)

(en banc) (citing cases); see also, e.g., Olmstead v. L.C. ex rel. Zimring, 527 U.S. 581,

616 n.1 (1999) (Thomas, J., dissenting) (“This Court has also looked to its Title VII

interpretations of discrimination in illuminating Title IX.”) (citing Franklin v.

Gwinnett Cnty. Pub. Schs., 503 U.S. 60, 75 (1992)); Whitaker, 858 F.3d at 1047 (“this

court has looked to Title VII when construing Title IX” (citation omitted)); Nelson v.

Christian Bros. Univ., 226 Fed. App’x 448, 454 (6th Cir. 2007) (“Generally, courts

have looked to Title VII as an analog for the legal standards in both Title IX

discrimination and retaliation claims.”) (internal citation and further citations

omitted); Lipsett v. Univ. of Puerto Rico, 864 F.2d 881, 896 (1st Cir. 1988) (“[W]e can

draw upon the substantial body of case law developed under Title VII to assess the

plaintiff’s claims under both section 1983 (the equal protection clause) and Title IX.”)

(footnote omitted).

      The Supreme Court has commented that “if we are to give [Title IX] the scope

that its origins dictate, we must accord it a sweep as broad as its language.” North

Haven Bd. of Ed. v. Bell, 456 U.S. 512, 521 (1982) (quoting United States v. Price, 383

U.S. 787, 801 (1966) (addition by the Court)). Bostock does nothing to minimize the

broad sweep of Title IX and bolsters this Court’s conclusion in Whitaker that denying

Ash Whitaker access to male restrooms was discrimination “on the basis of sex.”

      B.     Whitaker does not contravene what Title IX allows

       Martinsville engages in a lengthy analysis as to why Title IX and 34 C.F.R.


                                          [33]
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§ 106.33 allow it to deny A.C. the ability to use male restrooms, but nothing about the

statutory text of Title IX or its implementing regulations have changed since this

Court’s decision in Whitaker. Martinsville is asking this Court to ignore Whitaker and

reanalyze the very same text and regulations to reach a different outcome. Even if

this Court were to re-review the statutory text and regulations, such an analysis leads

inexorably to the conclusion that Martinsville violated A.C.’s statutory and

constitutional rights by discriminating against him on the basis of sex.

       To be sure, 34 C.F.R. § 106.33 allows schools to “provide separate toilet, locker

room, and shower facilities on the basis of sex.” But A.C. is not challenging the

existence of separate facilities, he is simply seeking access to them. The entirety of

Martinsville’s argument is based on its claim that the word “sex” in Title IX is defined

as the sex that a person is assigned at birth based on their genitalia. This completely

ignores the fact that while this Court acknowledged 34 C.F.R. § 106.33 in Whitaker,

it further noted that “[n]either the statute nor the regulations define the term ‘sex.’

Also absent from the statute is the term ‘biological,’ which the School District

maintains is a necessary modifier.” Whitaker, 858 F.3d at 1047.9 While Martinsville



9       In an attempt to bolster its argument concerning the meaning of “sex,” Martinsville
cites to what is asserts is Dr. Fortenberry’s distinction between “sex” and “gender.” (Appellant
Br. at 2 n.2). The meaning of the term “sex” is a legal question for this Court, not a witness,
to determine. See, e.g., Mid-Con Freight Systems, Inc. v. Mich. Pub. Serv. Comm’n, 545 U.S.
440, 446 (2005) (noting that interpretation of words in the statute are a “legal question”).
Moreover, it is clear that Dr. Fortenberry had a much more nuanced view.

       Q.     So I guess what I am referring to as a biological male is someone who was born
              with a penis.
       A.     Being born with a penis does not equal being male. A penis is a penis associated
              with a particular genetic inheritance. A vulva is a vulva, without a sex
              associated with it, associated with a particular genetic inheritance.
                                              [34]
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does not acknowledge it, both Whitaker and Bostock recognize that discrimination

against transgender persons is discrimination on the basis of sex.10

       In Grimm, the school district made precisely the same argument, contending

that Title IX, and particularly 34 C.F.R. § 106.33, authorized it to exclude a

transgender male student from male restrooms. 972 F.3d at 618. The court’s rejection

of this argument is cited at length, as it also directly refutes Martinsville’s argument.

       But Grimm does not challenge sex-separated restrooms; he challenges
       the Board’s discriminatory exclusion of himself from the sex-separated
       restroom matching his gender identity. . . And the implementing



(Dkt. 38-1 at 9:23 - 10:5). Dr, Fortenberry further noted that gender transition allows the
transgender person to “live as a member of the sex of their gender identity.” (Dkt. 29-1 ¶ 8).
No one disputes that A.C. was assigned the sex of female at birth based on his genitalia.
However, as Whitaker and Bostock demonstrate, that does not answer the question of
whether he is being discriminated against “on the basis of sex.”

10      Martinsville’s argument is further undercut by the fact that its erroneously narrow
view of the meaning of “sex” is not shared by the United States Department of Justice, which
has announce proposed amendments to Title IX regulations. See, Proposed Rule,
Nondiscrimination on the Basis of Sex in Education Programs of Activities Receiving Federal
Financial Assistance, 87 FR 41390-01, 2022 WL 266876(F.R.) (July 12, 2022). These
specifically provide that Title IX prohibits discrimination based on sex stereotypes, sexual
orientation and gender identity and further provide that:

       [i]n the limited circumstances in which Title IX or this part permits different
       treatment or separation on the basis of sex, a recipient must not carry out such
       different treatment or separation in a manner that discriminates on the basis
       of sex by subjecting a person to more than de minimis harm, unless otherwise
       permitted by Title IX or this part. Adopting a policy or engaging in a practice
       that prevents a person from participating in an education program or activity
       consistent with the person’s gender identity subjects a person to more than de
       minimis harm on the basis of sex.

Id. at 87 FR 41571 (proposed 34 C.F.R. § 106.10; 34 C.F.R § 106.31(a)(2)). This was preceded
by an Executive Order dated January 20, 2021, where President Bident noted that “[u]nder
Bostock’s reasoning, laws that prohibit sex discrimination[,] including Title IX of the
Education Amendments of 1972 . . .[,] prohibit discrimination on the basis of gender identity
or sexual orientation, so long as the laws do not contain sufficient indications to the contrary.”
Exec. Order No. 13988. 86 FR 7023, 2021 WL 229396 (Jan. 20, 2021).

                                               [35]
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      regulation cannot override the statutory prohibition against
      discrimination on the basis of sex. All it suggests is that the act of
      creating sex-separated restrooms in and of itself is not discriminatory—
      not that, in applying bathroom policies to students like Grimm, the
      Board may rely in its own discriminatory notions of what “sex” means.

Id. (emphasis by the court) (footnote omitted). As the district court noted in this case,

“A.C.’s claims are based on the School District’s treatment of him as an individual. .

. [H]e is seeking to use those facilities that already exist and align with his gender

identity; his claim is solely that the School District is forbidding him from doing so.”

(S.A. at A11). And, as noted, numerous other cases agree that discrimination similar

to that engaged in by Martinsville violates Title IX. (Supra at 23-25).

      Martinsville’s attempt to justify its discrimination by citing to 20 U.S.C. §

1686’s language authorizing separate living facilities for “the different sexes” is

similarly unavailing. That statutory language does not provide an exception to Title

IX’s overarching prohibition on discrimination based on sex. It, like the restroom

regulation, “is a broad statement that sex-separated living facilities are not

unlawful—not that schools may act in an arbitrary or discriminatory manner when

dividing students into those sex-separated facilities.” Grimm, 972 F.3d at 618 n.16.

      While Martinsville attempts to stress what it terms are the “physical

differences between the sexes” and the privacy issues surrounding bathroom use

(Appellants’ Br. at 12-14), this is merely an attempt to ignore Whitaker and Bostock.

The point is that if a transgender boy were a cisgender boy, he could use the male

restrooms. But the transgender boy is denied solely because he is transgender. “[I]t

is impossible to discriminate against a person for being . . . transgender without


                                          [36]
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discriminating against that individual based on sex.” Bostock, 140 S. Ct. at 1741. Title

IX most assuredly does not authorize the discrimination that has been imposed on

A.C.

       C.    Whitaker is not undermined by the fact that it articulated the incorrect
             preliminary injunction standard

       In Whitaker, this Court stated that that in order to demonstrate a likelihood of

success on the merits in a preliminary injunction, the plaintiff need only establish

that the chances to succeed are “better than negligible.” 858 F.3d at 1046. Since then,

this Court has recognized that this is not the proper standard. See Pritzker, 973 F.3d

at 763 (noting that the “better than negligible” standard has been “retired by the

Supreme Court”). The fact that Whitaker has been abrogated to the extent that it

used what has since been declared to be an erroneous preliminary injunction

standard does not affect this Court’s legal conclusions that denying a transgender

student the ability to use the restrooms that are consistent with his gender identity

is discrimination “on the basis of sex.” A court’s interpretation of the substantive law

remains the same whether a plaintiff seeks a preliminary or permanent injunction,

regardless of whether the now-defunct “better than negligible” standard was

articulated. And authority remains authoritative even if it has been abrogated on a

limited point unrelated to the principle for which it is being cited. See, e.g., Ybarra v.

City of Chicago, 946 F.3d 975, 983 (7th Cir. 2020) (Hamilton, J., concurring) (citing

Supreme Court precedent that had been “abrogated in nonrelevant part” by a

subsequent Supreme Court case); Dhakal v. Sessions, 895 F.3d 532, 539 (7th Cir.

2018) (citing as authority a Supreme Court case that had been “abrogated in part on

                                           [37]
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other grounds” by a later case); Skiba v. Ill. Cent. R.R., 884 F.3d 708, 720 (7th Cir.

2018) (citing a Seventh Circuit case that had been “overruled on other grounds”).

       To put it simply, this Court in Whitaker did not determine that the plaintiff

had a “better than negligible” chance of establishing what the law was: this Court

stated the law. It then concluded that Ash Whitaker had a “better than negligible”

chance of establishing that the school district’s actions violated it. The fact that this

Court used the incorrect standard for assessing whether Ash Whitaker was entitled

to relief does not alter its holding that as a matter of law, denying a transgender

student the ability to use the restroom associated with his gender identity is sex

discrimination. And it is this essential holding that Martinsville ignores.11



11      Other courts continue to cite Whitaker’s holding concerning the meaning of
discriminating against a person “on the basis of sex.” See, e.g., Grimm, 976 F. 3d at 401
(Wynn, J., concurring in denial of rehearing en banc) (citing Whitaker, and other cases, to
support the fact that the panel’s decision that the School Board denied both Title IX and
equal protection when it prevented a transgender male student from using the boys’ restroom
was correct; Boston Alliance of Gay, Lesbian, Bisexual & Transgender Youth v. U.S. Dep’t of
Health & Human Servs., 557 F. Supp. 3d 224, 244 (D. Mass. 2021) (citing Whitaker, and other
cases, after stating that “while the First Circuit has not spoken on the subject, other circuits
have held that intermediate scrutiny applies to discrimination based on transgender status
in the equal protection context”); D.T. v. Christ, 552 F. Supp. 3d 888, 896 (D. Az. 2021) (citing
Whitaker as one of a number of cases holding that “[d]iscrimination against transgender
people is discrimination based on sex; as such, heightened scrutiny applies”); Soule ex rel.
Stanescu v. Conn. Ass’n of Schools, Inc., 2021 WL 1617206, at *10 (D. Conn. Apr. 25, 2021)
(citing Whitaker after stating “[c]ourts across the country have consistently held that Title
IX requires schools to treat transgender students consistent with their gender identity. . . .
Every Court of Appeals to consider the issue has so held.”); Brickhouse v. Lashbrook, 2020
WL 7059256, at *3 (S.D. Ill. Dec. 2, 2020) (citing Whitaker for the proposition that
“discrimination based on a person’s transgender status or discrimination based on sex
stereotyping may also be actionable as an equal protection claim”); Hobby Lobby Stores, Inc.
v. Sommerville, 186 N.E.3d 67, 83 (Ill. Ct. App. 2021) (citing Whitaker as one of many cases
“upholding the right of transgender persons to be free from discrimination in employment
and in access to bathrooms matching their gender identity), appeal allowed, 183 N.E.3d 880
(Ill. 2021); Love v. Young, 320 So. 3d 259, 274 n.17 (Fla. Ct. App. 2021) (noting that “[i]n
Whitaker, the court allowed a claim for discrimination on the basis of sex under Title IX”);
N.H. v. Anoka-Hennepin Sch. Dist. No. 11, 950 N.W.2d 553, 563 (N.H. Ct. App. 2020) (citing
                                              [38]
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VI.   The district court properly concluded that the other requirements for the grant
      of a preliminary injunction are met

      A.     A.C. is suffering irreparable harm for which there is no adequate remedy
             at law

      The denial of A.C.’s constitutional and statutory rights is, in and of itself,

irreparable harm. “Courts have . . . held that a plaintiff can demonstrate that a denial

of an injunction will cause irreparable harm if the claim is based upon a violation of

the plaintiff’s constitutional rights.” Overstreet v. Lexington-Fayette Urban Cnty.

Gov’t, 305 F.3d 566, 578 (6th Cir. 2002). The same is true concerning denial of rights

secured by Title IX. See, e.g., Portz v. St. Cloud State Univ., 196 F. Supp. 3d 963, 973

(D. Minn. 2016) (“Plaintiffs' expectation that they may be treated unequally in

violation of Title IX's terms is an irreparable harm.”).

      Moreover, Martinsville is ignoring the uncontested evidence demonstrating

the myriad harms to A.C., all of which independently, and collectively, constitute

irreparable harm. For example, there are times that A.C. will not use the restroom

for the entire day, choosing the physical discomfort that this caused over the

emotional pain of being singled out as being required to use the distant clinic

restroom. (Supra at 7). Martinsville does not contest that as A.C. has gotten older “it

has become increasingly distressing for him to be viewed by others as a girl and to




Whitaker as one of “the overwhelming majority of federal courts that have recently examined
transgender education-discrimination claims under Title IX [and] have concluded that
preventing a transgender student from using a school restroom or locker room consistent
with the student’s gender identity violates Title IX”).

                                           [39]
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have a body that does not align with his gender. This distress has manifested itself

in multiple ways, including depression, anxiety, anger, and self-harm.” (M.C. Dec.

Dkt. 29-2 at 2 ¶ 12).

       Martinsville does not dispute that A.C. suffers from gender dysphoria and that,

as he noted, not being allowed to use the male restrooms

       undermines my transition and worsens the anxiety and depression
       caused by my gender dysphoria. It makes me feel isolated and punished
       for being who I am. It also tells other students that I am different and
       should not be treated like other boys. It makes being at school painful. I
       like school because I love learning but there are days I just cannot go
       because it feels too awful to have people not see me as the boy that I am.

(A.C. Dec. Dkt. 29-3 at 5 ¶ 27). A.C. further notes that

       I also don’t like using the clinic restroom because using it singles me out
       and doesn’t let me be myself at school. Because of how bad using the
       clinic restroom makes me feel, sometimes I avoid using the bathroom at
       all during the day. Even though this causes me physical discomfort, it is
       better than being singled out as different.

(Id. at 4 ¶ 22).

       Dr. Fortenberry confirms that A.C. has identified bathroom usage at school as

a significant source of “distress, depression, and anxiety” and that use of restrooms

“consistent with [ ] experienced gender and gender identity is a standard element of

our clinical protocols in terms of its relevance to each patient’s health and safety.”

(M.C. Dec. Dkt. 29-2 at 9). As Dr. Fortenberry notes in more detail

       [t]he ability to be able to use toilet facilities consistent with one’s
       experienced and expressed gender is a prime component of gender
       affirmation. Being denied the use of gendered toilet facilities consistent
       with expressed gender is experienced as an ever-present source of
       distress and anxiety. Distress and anxiety are linked to increases in self-
       harming behaviors including suicidality.


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                *                          *                           *

      It is well-established by research and clinical experience that these
      experiences of shame and discrimination have long-term negative
      influences on mental health, physical health, and overall wellbeing.

(Fortenberry Dec. Dkt. 29-1 at 11-12 ¶¶ 37, 40).

      A.C.’s mother also confirmed that not being able to use the boys’ restrooms

causes A.C. anxiety and depression, while being able to use the boys’ restrooms, for

even a brief time, made him happier and feel less stigmatized. (Supra at 8).

Martinsville offers no evidence to counter this.

      Of course, irreparable harm and a lack of an adequate remedy at law can be

demonstrated without A.C. being actively suicidal. In granting a preliminary

injunction to transgender students who had been prohibited from using restrooms of

their identified gender, the Evancho court noted “it is not a long leap, nor really a

leap at all, to give credence to the Plaintiffs’ assertions that they subjectively feel

marginalized, and objectively are marginalized, which is causing them genuine

distress, anxiety, discomfort and humiliation.” 237 F. Supp. 3d at 294.

      Irreparable harm is “defined as harm that cannot be repaired and for which

money compensation is inadequate.” Orr v. Shicker, 953 F.3d 490, 502 (7th Cir. 2020)

(internal quotation and citation omitted). The uncontested evidence demonstrates

that without an injunction A.C. will suffer irreparable harm.

      B.     The balance of harms favors A.C.

      Martinsville argues that it will be harmed by the preliminary injunction

inasmuch as it will no longer be able to rely on Title IX regulations and “will be forced


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to navigate this new frontier without the benefit of established rules,” and the privacy

rights of other students will be violated. (Appellants’ Br. at 31). But this argument is

tied to Martinsville’s erroneous suggestion that allowing A.C. to use the boys’

restrooms would lead to the collapse of all sex-separated spaces. Not so. The

injunction merely forces Martinsville to conform its conduct to the requirements of

the Constitution and federal law—a requirement that Martinsville cannot claim is

harmful. See, e.g., Christian Legal Soc’y v. Walker, 453 F.3d 853, 867 (7th Cir. 2006)

(holding that if a governmental entity “is applying [a] policy in a manner that violates

[the plaintiff’s] First Amendment rights…then [the] claimed harm is no harm at all”).

       It is not clear of what Martinsville complains as it does not explain the contours

of this apparently perilous “new frontier.” A.C. is a boy and seeks to use the boys’

restrooms. This is not some new area. It is what is required by federal law and the

Constitution.12 And, as noted above, there simply is no evidence that allowing A.C. to

use male restrooms is negatively impacting the privacy of other students.

Martinsville’s “concerns with the privacy of other students appears entirely

conjectural. No evidence was provided to support the School District’s concerns, and

other courts dealing with similar defenses have also dismissed them as unfounded.”

(S.A. at A14). Moreover, Martinsville’s “concerns over privacy are undermined given

that it has already granted permission for other transgender students to use the



12      The “new frontier” argument is curious given that Martinsville conceded that at least
at its high school, there are transgender students allowed to use the restrooms of their gender
identity, not their sex assigned at birth. To the extent that anything must be “navigated,” it
appears that Martinsville has done so.

                                             [42]
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restroom of their identified gender, and it has presented no evidence of problems

when other transgender student[s] have used restrooms consistent with their gender

identity.” Id.13

       C.     The public interest supports the issuance of the preliminary injunction

       Martinsville contends that the public interest is disserved by the issuance of

an injunction as it argues Title IX allows the discrimination imposed here, and it

complains that Whitaker displaced congressional and administrative action and

decision making. (Appellants’ Br. at 32-34). But, as explained in Whitaker, this issue

has already been decided by Congress. Title IX does not allow this discrimination.

The public interest is furthered by supporting A.C.’s rights that are protected by the

Constitution and Title IX. See, e.g., Dodds, 845 F.3d at 222 (denying a stay pending

appeal of an injunction requiring a school district to allow a transgender student to

use the female restrooms and noting that the “public interest weighs strongly against

a stay of the injunction. The district court issued the injunction to protect Doe’s

constitutional and civil rights, a purpose that is always in the public interest.”).



                                        Conclusion

       For the foregoing reasons, the district court’s decision granting A.C. a


13      In Whitaker, this Court concluded that the school district had failed to establish that
any harm—either to the school district or to the public—would result from the issuance of a
preliminary injunction. 858 F.3d at 1054. The court credited the statements made by amici,
school administrators from twenty-one states and the District of Columbia, who “uniformly
agree that the frequently-raised and hypothetical concerns about a policy that permits a
student to utilize a bathroom consistent with his or her gender identity have simply not
materialized. Rather, in their combined experience, all students’ needs are best served when
students are treated equally.” Id. at 1055
                                             [43]
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preliminary injunction must be affirmed so that he can use the restrooms associated

with his gender identity.


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                            Certificate of Word Count

      I hereby certify that this brief complies with the type-volume limitation of

Circuit Rule 32(c) insofar as it contains 13,342 words, excluding the parts of the brief

exempted by Appellate Rule 32(f).



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                               Certificate of Service

      I hereby certify that on the 26th day of July, 2022, I electronically filed the

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                                                               Supp.App.3
